                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF ALASKA

NATIONAL AUDUBON SOCIETY et al.,          )
                                          )
          Plaintiffs,                     )   Case No. 3:20-cv-00205-SLG
                                          )
     v.                                   )
                                          )
DAVID BERNHARDT et al.,                   )
                                          )
          Defendants,                     )
                                          )
          and                             )
                                          )
ALASKA OIL & GAS ASSOCIATION et al.,      )
                                          )
          Intervenor-Defendants.          )
                                          )

                DECLARATION OF BRENDAN CUMMINGS




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I, Brendan Cummings, hereby declare as follows.

       1.     I have been on staff at the Center for Biological Diversity (the Center) for

more than 20 years and currently serve as Conservation Director of the organization. I am

also a member of the organization. The Center’s members and staff, including myself,

rely on the Center to represent our interests in the preservation of imperiled species and

habitats such as those in the Arctic National Wildlife Refuge.

       2.     I work with our legal and scientific staff and other organizations to advance

the Center’s goal of wildlife and habitat protection through administrative actions and

reform, scientific research and the judicial process. In my capacity at the Center, I am

familiar with all aspects of the Center’s activities and organizational interests related to

Alaska in general and the Arctic Refuge in particular.

       3.     The Center is a nonprofit corporation incorporated in the State of

California. The Center works through science and environmental law to advocate for the

protection of endangered, threatened, and rare species and their habitats throughout the

United States and abroad.

       4.     The Center has more than 80,000 active members. Center members

reside throughout the United States, including in Alaska. The Center works to ensure the

long-term health and viability of animal and plant communities across the United States

and elsewhere, and to protect the habitat these species need to survive. The Center




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believes that the health and vigor of human societies and the integrity and wildness of the

natural environment are closely linked.

       5.     As part of its mission, the Center provides oversight of governmental

programs, policies, and activities that affect wildlife and endangered species. The Center

has been at the forefront of efforts to hold the government accountable for its obligations

under the Endangered Species Act (ESA), Marine Mammal Protection Act (MMPA),

National Environmental Policy Act (NEPA), and other laws protecting wildlife and its

habitat. The Center regularly engages in protection efforts and campaigns to ensure that

our nation’s environmental laws are enforced with respect to wildlife and its habitat.

       6.     The Center actively develops and disseminates to its members;

policymakers; local, state, federal and international governmental officials; nonprofit

organizations; and interested members of the general public a wide array of educational

and informational materials concerning the status of and threats to wildlife species,

including threatened and endangered species and their habitats.

       7.     The Center has been actively involved in protecting Alaska’s wildlife

since the early 1990s. Our involvement has included submitting ESA listing petitions for

the Queen Charlotte goshawk, Alexander Archipelago wolf, Cook Inlet beluga whale,

Aleutian sea otter, yellow-billed loon, Kittlitz’s murrelet, polar bear, bearded, ringed,

ribbon and spotted seals, Pacific walruses, cold water corals and Lake Iliamna seals. We

have also submitted petitions seeking critical habitat designations for bowhead whales



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and Pacific right whales. Additionally, we have submitted petitions seeking “depleted”

designation under the MMPA for Alaskan sea otters and the AT1 stock of killer whales.

       8.     Besides our administrative petitions, the Center has also engaged in

numerous other activities related to the protection of biodiversity and habitat in

Alaska such as comments, appeals and/or litigation regarding forest plans, timber sales,

oil and gas leasing, fisheries bycatch, and other environmentally damaging activities. In

sum, the Center has a significant history of advocacy and involvement in environmental

issues affecting Alaska species. Our current involvement with regard to issues affecting

the Arctic Refuge falls squarely within our organizational interests and mission.

       9.     Specifically, with regard to the Arctic Refuge, the Center has been working

to protect polar bears since 2001. Oil and gas development in the Arctic Refuge threatens

to disrupt this species. Indeed, the Arctic Refuge supports the most important land-based

denning habitat for the species in the country. Seismic exploration and other oil and gas

activity will result in noise pollution that could cause harmful disturbance to both

denning and non-denning bears, and threatens to kill polar bears by crushing them in their

dens or scaring mother bears out of their dens and leaving their cubs to perish. Moreover,

the largest threat to the species is loss of its sea ice habitat from global warming, which

will be exacerbated by development and use of fossil fuels such as the oil and gas in the

Arctic Refuge. In 2005 the Center petitioned the U.S. Fish and Wildlife Service (FWS) to

list the polar bear as a threatened species under the ESA, and, after the Center sued, the



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polar bear was listed in 2008. Center advocacy led to the designation of critical habitat

for the polar bear in the Arctic, and the Center has intervened in several lawsuits to help

FWS defend protections for polar bears. The Center continues to fight for greater

protections for the polar bear in the U.S. and abroad. The Center actively participated in

the administrative process provided by the Bureau of Land Management for the proposed

Arctic Refuge oil and gas lease sales. On June 19, 2018, the Center joined other

organizations in submitting scoping comments to the Bureau. On March 13, 2019, the

Center joined substantive comments on the draft environmental impact statement for the

proposed lease sales.

       10.    The Center has been actively involved in attempting to protect other unique

Arctic wildlife resources. For example, in February 2000, the Center filed a petition to

designate critical habitat for the Bering-Chukchi-Beaufort Sea Stock of the bowhead

whale under the ESA. Bowheads migrate through these waters, and development near

their habitat would pose risks to the bowhead from oil spills, noise pollution, and from

marine vessels.

       11.    The Center has also invested substantial resources into ongoing research

and public education regarding the plight of species that reside in and use the Arctic,

including the Arctic Refuge. The Center maintains an active website and quarterly

newsletter in which we have highlighted to our members and the public on numerous




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occasions our concerns regarding development across Alaska’s Arctic, including the

Arctic Refuge.

       12.    In order to protect its significant interests in the species and habitats of

these areas, the Center has put a great deal of resources into preventing harmful oil

drilling. Among other things, the Center challenged Shell Oil’s plans to drill in the Arctic

Ocean, and the federal government’s approval of Hilcorp’s Liberty project—the first oil

development project fully within federal waters in the Arctic Ocean. The Center has also

challenged numerous federal actions allowing for the expansion of oil and gas activity in

the National Petroleum Reserve-Alaska.

       13.    In sum, the Center has a strong organizational interest in the species and

habitats of the Arctic Refuge and the proper and lawful management of these public

lands. In advocating for these interests, the Center represents itself and its members.

Center members have visited and will continue to visit the Arctic Refuge and surrounding

areas for recreational, aesthetic and educational purposes including hiking, wildlife

watching, and photography. Center members rely on the Center to represent their

interests with regard to advocacy on behalf of the species and habitats of these areas.

       14.    Oil and gas activity in the Arctic Refuge, activities that could only occur as

a result of the government actions challenged in this case, would irreversibly harm the

Center’s members’ use and enjoyment of the area and the species that rely on the area.

Center members’ interests in viewing wildlife and enjoying untrammeled landscapes



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would be harmed. Oil and gas activity in the Arctic Refuge would destroy important

habitat, including sensitive Arctic tundra, and disturb species such as the polar bear that

are already imperiled by global warming and existing oil development elsewhere in its

habitat. The Center’s efforts to protect polar bears and other Arctic species, could all be

for naught in the event of a large oil spill.

       15.     In sum, this case falls squarely within the Center’s organizational mission

as the activities challenged in this litigation would directly and significantly impair the

interests of the Center and its members. However, a successful outcome in this litigation

would serve to protect prevent such harm, redressing the injuries of the Center and its

members.

I declare under penalty of perjury that the foregoing declaration is true and correct.



Dated: 12/11/20                        By:
                                                  Brendan Cummings




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